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 1     Connor Lynch (SBN 301538)
       connor@lynchllp.com
 2
       Brian Lynch (SBN 292511)
 3     brian@lynchllp.com
       LYNCH LLP
 4
       4470 W. Sunset Blvd. No. 90096
 5     Los Angeles, CA 90027
       Phone: (949) 229-3141
 6
 7     Attorneys for Plaintiff Pretty in Plastic, Inc.
 8
 9
                                     UNITED STATES DISTRICT COURT
10                                  CENTRAL DISTRICT OF CALIFORNIA
11
             Pretty in Plastic, Inc.,                    Case No. 2:18-cv-06091-GW (SKx)
12
13                  Plaintiff,
                                   v.                    Plaintiff’s Opposition to Defendants’
14
                                                         Motion to Dismiss Complaint
15           Maryellis Bunn, et al.
                                                         Date: November 8, 2018
16                  Defendants.                          Time: 8:30 a.m.
17                                                       Crtrm.: 9D
18                                                       The Hon. George H. Wu
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 1 I. Introduction
 2          Defendants used Plaintiff’s NDA-protected ideas and copyrighted expression, but
 3 they refuse to pay for what they used. Plaintiff brought this case to right that wrong.
 4          In October 2016, Defendants Maryellis Bunn and 1AND8, Inc., better known as the
 5 Museum of Ice Cream (“MOIC”)—a popular social-media-ready pop-up art exhibition—
 6 solicited design proposals from Plaintiff Pretty in Plastic, Inc. (“PIP”)—a prominent Los
 7 Angeles creative company—for a rainbow sherbet room to use for MOIC in Los Angeles.
 8 On November 2, 2016, PIP told Defendant Bunn that she would need to sign a Non-
 9 Disclosure Agreement (the “NDA”) before PIP would send any design proposals. After
10 Defendant Bunn signed the NDA on November 3, 2016, PIP sent both Bunn and Bunn’s
11 associate PIP’s design proposal for a Rainbow Sherbet Room featuring a distinct white
12 unicorn with a spiraling gold horn. Defendants never paid for the design or reached any
13 other agreement to use it, but about a year later they copied both the expression and the
14 ideas in the proposal, using it in MOIC’s San Francisco location.
15          Defendants now seek to avoid paying for the designs they used. They first argue the
16 copyright claim is only about ideas. They are wrong: the copyright claim is about copied
17 expression, as detailed below on pages 4 and 7–10.
18          Defendants next claim the NDA they signed does not protect PIP’s ideas because
19 unicorns were publicly available before Defendants disclosed PIP’s idea and passed it off as
20 their own creative work. Defendants ignore not just the many similarities in expression, but
21 also the fundamental purpose of the NDA itself: to go beyond the Copyright Act’s
22 protection and to the ideas and information embodied in the design proposal. Defendants
23 point to no public instance of PIP’s distinct unicorn in a rainbow room of an ice-cream-
24 themed museum before the copying, let alone an instance alleged by the Complaint, but still
25 insist the ideas embodied in the design proposal were publicly available. In effect, they ask
26 the Court to ignore the Complaint’s allegations to find no breach as a matter of law.
27          On unjust enrichment and unfair competition, Defendants ask for dismissal on
28 preemption grounds because, they argue, each claim is based only on acts of copyright
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 1 infringement. Each claim, however, is grounded in the tort of breach of confidential
 2 relationship, and the Ninth Circuit has found the Copyright Act does not preempt such
 3 claims.
 4          Finally, Defendants ask the Court in the alternative to dismiss Defendant Bunn
 5 because, they argue, the Complaint fails to allege she was bound by the NDA (the basis of
 6 PIP’s contract claim) and fails to allege she received the design proposal at issue (the basis of
 7 PIP’s copyright claim). In fact, the Complaint alleges, in detail, both of these facts. Compl.
 8 ¶¶ 11–18, 26–27, 46–51.
 9          Defendants’ arguments, if accepted, would allow them to unfairly profit from the
10 copyrighted and NDA-protected work of PIP—and encourage them to do the same to other
11 artists—with impunity. This Court should reject this scheme and deny Defendants’ motion
12 to dismiss in its entirety.
13 II. Statement of Facts
14          The dispute in this case began in late September 2016, when Defendant MOIC,
15 through an employee, first reached out to PIP to about PIP’s potential involvement in
16 MOIC’s Los Angeles location. Compl. ¶ 11. The conversation between MOIC and PIP
17 continued into October 2016, when Defendant Bunn personally requested a design proposal
18 for a rainbow sherbet room. Compl. ¶ 12. Before PIP would send Defendant Bunn any
19 design proposals, PIP required Bunn and MOIC to sign an NDA. Compl. ¶ 14. After
20 receiving the signed copy of the NDA, PIP sent, directly to Defendant Bunn and MOIC, the
21 design proposals, including a design for a unicorn in MOIC’s rainbow sherbet room. Compl.
22 ¶ 16.
23          PIP and Defendants never reached any agreement for Defendants’ use of the design
24 proposals. Compl. ¶ 18.
25          About a year after Defendant Bunn received PIP’s design proposals, PIP discovered
26 that Defendant Bunn and MOIC had copied PIP’s design proposal for a rainbow room with
27 a unicorn for an MOIC location. Compl. ¶ 21. Not just the ideas, but the expression, too.
28 The result is the following:
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              Plaintiff PIP’s Design Proposal                 Defendants’ Rainbow Room
 8          The list of similarities is extensive:
 9            (1)      both the unicorn in PIP’s design proposal and Defendants’ rainbow room
10                     are approximately the same angle to the back wall of the room and face
11                     stage left;
12            (2)      both unicorns have relatively realistic equine bodies;
13            (3)      both unicorns are standing mid-walking stride with opposite pairs of hooves
14                     matching (the hooves on one side are both nearer to the center than the
15                     hooves on the other);
16            (4)      both unicorns are depicted with their weight on their front legs;
17            (5)      both unicorns are looking slightly away from the forward front leg;
18            (6)      both unicorns have a relaxed tail hanging from the dock;
19            (7)      both unicorns’ ears are up;
20            (8)      both unicorns’ manes fall to the same side (the side with the front leg back),
21                     and the manes fall close to the neck with no partition (i.e., a portion of the
22                     mane does not fall to the opposite side);
23            (9)      both unicorns appear to lack forelocks entirely (the piece of the mane on a
24                     horse that falls down the forehead);
25            (10)     both unicorns have a shiny gold horn that spirals the entire length of the
26                     horn, with a similar helix angle in both horns;
27            (11)     both unicorns’ horn length is similarly proportioned to the size of each
28                     unicorn’s neck (and relatively the same length);
                                                   3
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 1               (12)     both unicorns have a relatively flat back with low withers;
 2               (13)     both unicorns have strong chest muscles with flexed biceps and triceps;
 3               (14)     both unicorns have strong masseter muscles in the cheek;
 4               (15)     both unicorns have a similar shoulder slope (the highest point of the wither
 5                        to the shoulder point to the elbow point);
 6               (16)     both unicorns have a relatively long neck;
 7               (17)     both unicorns have a relatively large head;
 8               (18)     both unicorns are illuminated from above to cast shadows under the
 9                        unicorn body;
10               (19)     both unicorns are a semi-gloss white; and
11               (20)     both unicorns have monochromatic bodies (including parts that, if on a
12                        horse, would ordinarily have color, such as the hooves, eyes, and nose).
13
      III. Argument
14
15          As explained below, PIP has properly pleaded copyright infringement, breach of

16 contract, unjust enrichment, and unfair competition against both Defendant Bunn and
17 Defendant MOIC in conformity with FRCP 8.
18          A.          Legal Standard on Motion to Dismiss

19          On motion to dismiss, a court must take all allegations of material fact in the

20 complaint as true and construe them in the light most favorable to the nonmoving party.
21 Parks School of Bus., Inc. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995). Dismissal is not
22 appropriate unless “it is clear that no relief could be granted under any set of facts that could
23 be proved consistent with the allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).
24 As explained below, each of Defendants’ arguments requires the Court to ignore this
25 standard and instead construe facts and allegations against PIP.
26          B.          The Complaint Plausibly Alleges Copyright Infringement

27          A plaintiff bringing a claim for copyright infringement must allege “(1) ownership of a
28 valid copyright, and (2) copying of constituent elements of the work that are original.” Feist
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 1 Pubs., Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). PIP has done so.
 2          Defendants do not contest that PIP owns a valid copyright; instead, they argue that
 3 Defendants’ copying does not rise to the level of copyright infringement. In the Ninth
 4 Circuit, that determination requires an extrinsic test—for the court—and an intrinsic test—
 5 for the jury. Metcalf v. Bochco, 294 F.3d 1069, 1073 (9th Cir. 2002). On summary judgment or
 6 a motion to dismiss, only the extrinsic test is relevant. See id.
 7          Ordinarily, extrinsic similarity is addressed at summary judgment, and even then,
 8 “[s]ummary judgment is ‘not highly favored’ on questions of substantial similarity.” Folkens v.
 9 Wyland Worldwide, LLC, 882 F.3d 768, 774 (9th Cir. 2018). This may be partly because the
10 “extrinsic test requires ‘analytical dissection of a work and expert testimony.’” Swirsky v.
11 Carey, 376 F.3d 841, 845 (9th Cir. 2004).
12          Before addressing extrinsic similarity, Defendants first ask the Court to judicially
13 notice that unicorns—mythological creatures—are white with gold horns. Defs.’ Req. for
14 Judicial Notice, Dkt. 18. They then improperly conclude that nothing but horn and body
15 color were copied between PIP’s and Defendants’ work. As a threshold matter, Defendants’
16 request for judicial notice should be denied. The wide range of depictions of mythological
17 equines in Defendants’ motion and request for judicial notice only emphasize wide range of
18 depictions for a mythological equine (e.g., they are not all white) and the strong similarity in
19 protectable features between Plaintiff’s and Defendants’ work. And even if the Defendants’
20 request for judicial notice is granted, dismissal would still not be appropriate because far
21 more than just the horn and body color were copied by Defendants.
22                1.  Defendants’ Request for Judicial Notice to Establish Features
23                Common to Unicorns Should Be Denied
24          Defendants’ request for judicial notice (Dkt. 18) that unicorns are commonly depicted
25 as white should be denied because it is subject to reasonable dispute and is not “generally
26 known.” See Silas v. Home Box Office, Inc., 201 F. Supp. 3d 1158, 1170 (C.D. Cal. 2016).
27          Judicial notice isn’t appropriate here because Defendants are asking the Court to
28 notice much more than the fact of the definitions themselves; Defendants ask the Court to
                                                   5
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 1 judicially notice the “facts contained in” the definitions, i.e., that unicorns are white. Dkt. 18.
 2 They then rely on facts not contained in the definitions, such as their description of this
 3 example picture as including a “gold” horn (Dkt. 17 at 10):
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10         The depicted horn may include gold, but the horn itself fundamentally differs in
11 expression from the gold horn common to both PIP’s and Defendants’ work. While the
12 unicorn depicted is “white,” it’s a warmer, creamier white, strikingly different from the stark
13 absolute white of the unicorns depicted in PIP’s and Defendants’ work.
14       Even the definitions presented by Defendants inconsistently describe the various
15 features of a unicorn. For example, Defendants’ Britannica definition describes a unicorn as
16 having “a white body, purple head, and blue eyes, and on its forehead [is] a cubit-long horn
17 coloured red at the pointed tip, black in the middle, and white at the base.” Exhibit B, Dkt.
18 18-2. Defendant’s Merriam Webster definition, on the other hand, describes a unicorn as a
19 “usually white animal generally depicted with the body and head of a horse with long flowing
20 mane and tail and a single often spiraled horn in the middle of the forehead.” Exhibit A,
21 Dkt. 18-1. Defendants’ Exhibit A also includes various images of unicorns, all of which
22 depict unicorns with different, distinguishable features. Far from introducing consistent
23 features for a unicorn, Defendants’ request for judicial notice establishes, if anything, that
24 unicorns can—and are— portrayed diversely with a wide range of features.
25         Further, the dictionaries’ acontextual definitions do not establish the ultimate fact of
26 what elements are common to unicorns in pop-up art installations. Because the specific
27 color of unicorns is not readily ascertainable through consultation of unquestionable sources,
28 judicial notice should be denied. See Silas v. Home Box Office, Inc., 201 F. Supp. 3d 1158, 1170
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 1 (C.D. Cal. 2016) (denying judicial notice with respect to elements common to prior works).
 2                 2.   Defendants Copied at Least Twenty Distinct, Protectable
 3                 Elements from Plaintiff’s Work
 4        Regardless of whether the color of unicorns is judicially noticed, the copied
 5 expression goes far beyond the inclusion of the same color white, as is apparent from
 6 examination of the works:
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13          Plaintiff PIP’s Design Proposal               Defendants’ Rainbow Room
14        At least twenty distinct protectable elements are similar between the works, and
15 Defendants’ motion addresses almost none of them:
16         (1)    both the unicorn in PIP’s design proposal and Defendants’ rainbow room
17                   are approximately the same angle to the back wall of the room and face
18                   stage left;
19           (2)     both unicorns have relatively realistic equine bodies;
20           (3)     both unicorns are standing mid-walking stride with opposite pairs of hooves
21                   matching (the hooves on one side are both nearer to the center than the
22                   hooves on the other);
23           (4)     both unicorns are depicted with their weight on their front legs;
24           (5)     both unicorns are looking slightly away from the forward front leg;
25           (6)     both unicorns have a relaxed tail hanging from the dock;
26           (7)     both unicorns’ ears are up;
27           (8)     both unicorns’ manes fall to the same side (the side with the front leg back),
28                   and the manes fall close to the neck with no partition (i.e. a portion of the
                                                  7
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 1                   mane does not fall to the opposite side);
 2            (9)    both unicorns appear to lack forelocks entirely (the piece of the mane on a
 3                   horse that falls down the forehead);
 4            (10)   both unicorns have a shiny gold horn that spirals the entire length of the
 5                   horn, with a similar helix angle in both horns;
 6            (11)   both unicorns’ horn length is similarly proportioned to the size of each
 7                   unicorn’s neck (and relatively the same length);
 8            (12)   both unicorns have a relatively flat back with low withers;
 9            (13)   both unicorns have strong chest muscles with flexed biceps and triceps;
10            (14)   both unicorns have strong masseter muscles in the cheek;
11            (15)   both unicorns have a similar shoulder slope (the highest point of the wither
12                   to the shoulder point to the elbow point);
13            (16)   both unicorns have a relatively long neck;
14            (17)   both unicorns have a relatively large head;
15            (18)   both unicorns are illuminated from above to cast shadows under the
16                   unicorn body;
17            (19)   both unicorns are a semi-gloss white; and
18            (20)   both unicorns have monochromatic bodies (including parts that, if on a
19                   horse, would ordinarily have color, such as the hooves, eyes, and nose).
20
21         Similar elements have been found protectable in other cases, including in the same
22 cases Defendants cite. For example, Defendants cite Aurora World, Inc. v. Ty Inc., 719 F. Supp
23 2d 1115, 1136 (C.D. Cal. 2009) to argue elements of PIP’s work are unprotectable. Dkt. 17
24 at 9, 12. They cite a denial of plaintiff Aurora’s motion for preliminary injunction for want of
25 extrinsic similarity between its plush toys and defendant’s. Id. But when the same court later
26 reached extrinsic similarity on summary judgment, it found issues of triable fact on the same
27 plush toys: “Aurora has adduced sufficient evidence to raise triable issues of fact regarding
28 substantial similarity under the extrinsic test.” Aurora World, Inc. v. Ty Inc., Case No. 09-cv-
                                                   8
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 1 08463, 2011 WL 13176413 at *18 (C.D. Cal. March 14, 2011). The court even cited color of
 2 the toys as among the protectable elements: “Ty’s Cleo toys [] have the same off-white color,
 3 gray markings on the hands, feet, and face, blue and gray striped tails, and light blue ring
 4 around the eyes as do Aurora’s copyrighted YooHoo toys.” Id. Here, the elements Plaintiff
 5 has identified are protectable and sufficient to satisfy the extrinsic similarity test.
 6         Far less similarity has been found sufficient to satisfy the extrinsic test in other cases.
 7 In Lisa Frank, Inc. v. Orb Factory Ltd., 2017 WL 6000477 (D. Ariz. Sept. 21, 2017), for
 8 example, the court denied summary judgment to defendants on issues of extrinsic similarity
 9 between two unicorns, which are reproduced below:
10
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17
                  Defendant’s Work                            Plaintiff’s Copyrighted Work
18
           While the court in Lisa Frank did not provide extensive analytical dissection of the
19
     two works, the comparison remains instructive. And the unicorns at issue in this case bear
20
     far more similarity than the unicorns at issue in Lisa Frank. The table below lists several
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     features which differ in the works in Lisa Frank but are the same in the works at issue before
22
     the Court.
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 1      Unicorn       Lisa Frank Plaintiff and Defendants’ Works               PIP and
 2      Feature                                                                Defendants’
                                                                               Works
 3
     Horn Color       Different—D’s yellow, speckled, P’s rainbow              Same
 4   Horn Style       Different—D’s speckled, P’s spiraled                     Same
 5   Horn Size        Different—D’s short, P’s long                            Same
     Mane Style       Different—D’s split, P’s one sided                       Same
 6   Mane Color       Different—D’s orange, pink, red; P’s rainbow             Same
 7   Body style       Different—D’s cartoonish, P’s more realistic             Same
     Face style       Different—D’s cartoonish, P’s more realistic             Same
 8   Hoof color       Different—D’s red, P’s rainbow                           Same
 9   Tail color       Different—D’s orange, pink, red; P’s rainbow             Same
10         Despite these differences, the court in Lisa Frank denied summary judgment to
11 defendants and let the case proceed to trial. Id. at *11. Unlike the Lisa Frank unicorns, those
12 in this case have same horn color (gold), same horn style (spiraling with the about same helix
13 angle), same horn size (long, proportionate to neck length), same mane style (not split), same
14 mane color (white), same body style (realistic, with many similar details), same face style
15 (realistic, also with many similar details), same hoof color (white), and same tail color (white).
16 Given how many more similarities the works in this case have to each other than the works
17 at issue in Lisa Frank, the Court should deny Defendants’ motion to dismiss on extrinsic
18 similarity.
19                3.    Defendants’ Cases All Concern Works Lacking the Degree
20                of Similarity Present Between PIP’s Work and Defendants’ Work

21         Ignoring the many similarities between PIP’s design proposal and Defendants’ work,

22 Defendants focus instead on cases where the works comparatively lacked similarity or
23 otherwise similar elements were readily filtered out. They cite Rentmeester v. Nike, Inc., 883
24 F.3d 1111, 1118 (9th Cir. 2018) and Reece v. Island Treasures Art Gallery, Inc., 468 F. Supp. 2d
25 1197, 1207-08 (D. Haw. 2006), which both stand for the uncontroversial proposition that
26 photographers of real-life subjects do not own the real-life people and things their work
27 depicts. With photographs, unlike other forms of artwork, none of the creative choices of
28 the photographer “is subject to copyright protection when viewed in isolation.” Rentmeester,
                                                  10
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 1 883 F.3d at 1119. The courts in Rentmeester and Reece were thus readily able to filter out
 2 unprotectable elements that flowed naturally from the unprotectable real human subject.
 3         Here, by contrast, Plaintiff’s design proposal and Defendants’ work are depictions of
 4 unicorns—not a specific real-life person—and thus the depictions do not flow naturally
 5 from unprotectable human subjects. While the Court may deem expert testimony helpful to
 6 adduce the full range of creative choices available for depicting unicorns, the allegations in
 7 the Complaint should suffice at this stage.
 8         Defendants also analogize to Croak v. Saatchi & Saatchi N. Am., Inc., 174 F. Supp. 3d
 9 829 (S.D.N.Y. 2016), which depicts dissimilar mythological creatures (one, a Pegasus based
10 on the anatomy of a real horse, and the other, a cartoonish winged unicorn) when compared
11 to the similarity present in this case. Croak, if anything, demonstrates only that Defendants
12 had a wide range of creative choices for mythological equines to pick among before they
13 chose Plaintiff’s depiction of a unicorn:
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          Plaintiff’s Work—a Pegasus               Defendant’s Work—a cartoonish
26
                                                          winged unicorn
27         Defendants also cite Eng v. Captain Blue Hen Comics, No. 14-cv-3631, 2014 WL
28 2941280, at *3 (E.D.N.Y. June 30, 2014), in which the court sua sponte dismissed the
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 1 complaint of a pro se litigant where the only alleged similarity between comic book works
 2 was the presence of an anthropomorphic unicorn with blonde hair wearing sunglasses. In
 3 this case, by contrast, the two works at issue feature dramatically more similarities.
 4         Taken together, the materials and cases Defendants cite establish a wide range of
 5 creative options for mythological equines and actually sharpen the many similarities between
 6 PIP’s work and Defendants’. Because the two works at issue here satisfy the extrinsic test on
 7 the allegations now before the Court, Defendants’ motion to dismiss should be denied.
 8         C.   Federal Law Does Not Preempt State-Law Claims Based on Defendants’
           Breach of the Confidential Relationship Between the Parties
 9
           Claims under state law are preempted by the Copyright Act where: (1) the conduct at
10
     issue comes within the subject matter of copyright, and (2) the state law rights are equivalent
11
     to any of the exclusive rights within the general scope of copyright. 17 U.S.C. § 301. Grosso v.
12
     Miramax Film Corp., 383 F.3d 965 (9th Cir. 2004). “[C]laims are not preempted by the federal
13
     copyright statute so long as they ‘contain elements . . . that are different in kind from
14
     copyright infringement.’” Wendt v. Host Int., 125 F.3d 806, 810 (9th Cir.1997).
15
           Unfair competition under California law may be predicated on any unlawful practice,
16
     whether it violates criminal, federal, state, or municipal, statutory, regulatory, or court-made
17
     law. Saunders v. Superior Court, 33 Cal. Rptr. 2d 438, 441 (Ct. App. 1994). “[A] plaintiff may
18
     bring a[n] [unfair competition law] claim even where it overlaps with a concurrently brought
19
     breach of contract and breach of the implied covenant of good faith and fair dealing claim.”
20
     Stewart v. Screen Gems-EMI Music, Inc., 81 F. Supp. 3d 938, 967 (N.D. Cal. 2015).
21
           Here, PIP’s state-law claims are grounded in the breach of the confidential
22
     relationship between the Parties. Compl. ¶ 24–27; Compl. ¶ 59. The tort of breach of
23
     confidential relationship occurs when “an idea, whether or not protectable, is offered to
24
     another in confidence, and is voluntarily received by the offeree in confidence with the
25
     understanding that it is not to be disclosed to others, and is not to be used by the offeree for
26
     purposes beyond the limits of the confidence without the offeror's permission.” Self Directed
27
     Placement Corp. v. Control Data Corp., 908 F.2d 462, 467 (9th Cir. 1990). State-law claims based
28
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 1 on such a breach of a confidential relationship are not preempted by the Copyright Act
 2 because they require an extra element—a confidential relationship—beyond a copyright
 3 claim. Summit Mach. Tool Mfg. Corp. v. Victor CNC Sys., Inc., 7 F.3d 1434, 1441 (9th Cir. 1993)
 4 (“In Self Directed, 908 F.2d at 467, the extra element [preventing preemption] was an alleged
 5 breach of a confidential relationship.”). Thus, the Court should deny Defendants’ motion to
 6 dismiss these claims as preempted by federal law.
 7         D.    The Complaint Properly Alleges Breach of Contract
 8         To state a claim for breach of contract, a plaintiff must plead (1) existence of a
 9 contract; (2) the party’s performance or an excuse for nonperformance; (3) the defendant’s
10 breach; and (4) resulting damages. Gerritsen v. Warner Bros. Entm’t Inc., 112 F. Supp. 3d 1011
11 (C.D. Cal. 2015). Defendants here argue only lack of breach because, they contend, unicorns
12 were generally known before Defendants unveiled the rainbow room unicorn.
13         Like Defendants’ arguments on copyright infringement, their arguments on breach of
14 contract both mischaracterize PIP’s claims and ignore the many similarities between PIP’s
15 detailed design proposal and their own rainbow room.
16         But, even if instead of a detailed design proposal, Plaintiffs had provided just a short,
17 simple email that said, “We propose a unicorn in the rainbow room for the Museum of Ice
18 Cream,” that would still qualify as Confidential Information under the NDA subject to non-
19 disclosure under the facts alleged in the Complaint, and this cause of action would still be
20 adequately pleaded and survive Defendants’ challenge because nowhere have Defendants
21 pointed to another ice-cream themed museum that had a unicorn in its rainbow room before
22 Defendants.
23         If Defendants object that this restricts their use of ideas they would otherwise be free
24 to use, then they should not sign NDAs that are intended to prevent theft of ideas. Indeed,
25 protection for the ideas in a design proposal is one of the fundamental reasons that artists
26 insist on NDAs before sending design proposals.
27         Courts have repeatedly recognized the important role contracts play in protecting
28 ideas the Copyright Act does not protect: “[c]ontract law, whether through express or
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 1 implied-in-fact contracts, is the most significant remaining state-law protection for literary or
 2 artistic ideas.” Montz v. Pilgrim Films & Television, Inc., 649 F.3d 975, 981 (9th Cir. 2011).
 3 “Without such legal protection, potentially valuable creative sources would be left with very
 4 little protection in a dog-eat-dog business.” Id.
 5         Defendants seek to undo that protection and ask the Court to hold that the contract
 6 Plaintiff seeks to enforce does not protect the ideas it was intended to protect. The Court
 7 should reject Defendants’ argument and deny dismissal of the contract action.
 8         E.     Maryellis Bunn Is a Proper Defendant to All Causes of Action
 9         Defendants ask that Defendant Bunn be dismissed in her personal capacity on both
10 the copyright and contract causes of action. Both arguments are premised on facts
11 contradicted by the Complaint’s allegations, and Defendants’ motion to dismiss Defendant
12 Bunn should be denied.
13                1.    Maryellis Bunn Is a Proper Defendant to the Breach of Contract
14                Action Because She Is a Party to the Agreement
15         The Complaint alleges breach of contract against both Defendant Bunn and MOIC.
16 Compl. ¶¶ 46–51. While Defendants claim the Complaint does not allege that both MOIC
17 and Defendant Bunn were bound by the contract, the Complaint alleges that “Defendants
18 entered into a contract entitled “NON-DISCLOSURE AGREEMENT” on November 3,
19 2016” and that “Defendants have breached the contract by, for example, using the design
20 proposals in a public exhibition at the San Francisco Museum of Ice Cream location.” ¶¶
21 46–49. The contract itself binds the “Recipient,” which was both Defendant Bunn, who
22 personally received the design proposals, and MOIC, which also received the design
23 proposals. See Dkt. No. 17–4; Compl. ¶¶ 11–18, 27.
24         In any event, corporate officers may be held to the terms of an agreement they have
25 personally signed in a variety of circumstances. See, e.g., Employee Painters' Tr. Health & Welfare
26 Fund v. Bessey, 2009 WL 3347588, at *3 (W.D. Wash. Oct. 15, 2009) (upholding personal
27 liability provision against corporate-officer signatory of collective bargaining agreement);
28 Ultratech, Inc. v. Ensure NanoTech (Beijing), Inc., 108 F. Supp. 3d 816, 822 (N.D. Cal. 2015)
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 1 (upholding application of forum-selection clause to corporate-officer signatory in personal
 2 capacity). These circumstances rightly include non-disclosure agreements. In Morgan Truck
 3 Body, LLC v. Fredrickson Distribution LLC, 2013 WL 4766331 (E.D. Pa. Sept. 5, 2013), the
 4 court refused to dismiss a personal defendant who signed a non-disclosure agreement in his
 5 capacity as a corporate officer and was alleged to breach that agreement. Id. at *7. The court
 6 reasoned so because the contract directed the company to share information only with
 7 employees who agree to keep such information confidential and agree to be bound by the
 8 contract’s terms as though parties. Id. The contract in this case contains similar provisions,
 9 see Dkt. No. 17–4 at Section 2, and the result should be the same: Defendant Bunn should
10 be personally bound not to disclose the confidential materials she received under the non-
11 disclosure agreement that she signed.
12                2.   Maryellis Bunn Is a Proper Defendant in the Copyright Action
13                Because She Personally Directed the Infringement
14         “Under Ninth Circuit precedent, ‘a corporate officer or director is, in general,
15 personally liable for all torts which he authorizes or directs or in which he participates,
16 notwithstanding that he acted as an agent of the corporation and not on his own behalf.’”
17 Bangkok Broadcasting & T.V. Co., Ltd. v. IPTV Corp., 742 F. Supp. 2d 1101, 1114 (C.D. Cal.
18 2010). Cases finding personal liability do typically find the defendant was the “guiding spirit”
19 behind the wrongful conduct. Davis v. Metro Prods., Inc., 885 F.2d 515, n. 10 (9th Cir. 1989).
20         The Complaint alleges that Defendant Bunn personally received PIP’s design
21 proposals. See, e.g., Compl. ¶¶ 11–18 (describing documents sent to “Defendants”), ¶ 27
22 (“she [Defendant Bunn] had solicited and received [the design proposals] only on condition
23 of nondisclosure”). The Complaint also alleges that Defendant Bunn has declared under
24 penalty of perjury that she “personally designed or supervised the creation of each signature
25 room” in the MOIC, Compl. ¶ 27, that she told an interviewer the rainbow room was “[her]
26 reaction to what’s going on,” Compl. ¶ 26, and that the design proposals in question were
27 “actually copied,” Compl. ¶ 27. The Complaint also alleges that Defendant Bunn is “co-
28 founder and creative director” of MOIC. Compl. ¶ 8. This is more than sufficient to
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 1 establish personal liability for copyright infringement, as Defendant Bunn occupies a similar
 2 supervisory role as the defendant CEO in Bangkok Broad. & T.V. Co. v. IPTV Corp., 742 F.
 3 Supp. 2d 1101, 1115 (C.D. Cal. 2010), who “personally selected [defendant] IPTV’s
 4 programming” and “had been CEO of IPTV since its founding.” In Bangkok Broad., the
 5 court found the CEO liable for copyright infringement because he was the “guiding spirit”
 6 behind his company’s infringing activities. Id. Here, Defendant Bunn is alleged to be that
 7 “guiding spirit.”
 8         Defendants claim the Complaint “contains no allegation stating that Defendant Bunn
 9 herself received or ever saw the subject designs or that she personally copied them,” but the
10 allegations of the Complaint plainly contradict this claim, as explained above, as do the
11 reasonable inferences drawn from those allegations.
12         If the Court nevertheless construes the Complaint against PIP, leave to amend would
13 be appropriate because PIP’s records demonstrate that Defendant Bunn personally received
14 the design proposals. Further, publicly available evidence indicates Ms. Bunn has posted
15 images of the infringing rainbow room on her personal social media accounts.
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 1 IV. Conclusion
 2       Defendants’ Motion to Dismiss requires the Court to construe the Complaint against
 3 Plaintiff PIP and ignore at least twenty protectable elements that were copied between PIP’s
 4 work and Defendants’ work. Defendants ask the Court to construe a contract meant to
 5 protect ideas against PIP and find that it does not actually protect ideas. They ask the Court
 6 to ignore the confidential relationship they breached to find state-law claims preempted. And
 7 they finally ask the Court to ignore allegations in the Complaint that implicate Defendant
 8 Bunn personally. Defendants’ arguments, if accepted, would allow them to unfairly profit
 9 from the copyrighted and NDA-protected work of PIP—and encourage them to do the
10 same to other artists—with impunity.
11        For these and all of the foregoing reasons, PIP respectfully requests the Court deny
12 Defendants’ motion in its entirety.
13
14
15   DATED: October 16, 2018
                                                Respectfully submitted,
16
                                                LYNCH LLP
17
18                                              By    /s/ Connor Lynch
                                                      Connor Lynch
19                                                    Attorneys for Plaintiff
                                                      Pretty in Plastic, Inc.
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